

People v Zachary (2023 NY Slip Op 00279)





People v Zachary


2023 NY Slip Op 00279


Decided on January 24, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: January 24, 2023

Before: Kapnick, J.P., González, Mendez, Shulman, Higgitt, JJ. 


Ind. No. 1791/18 Appeal No. 17161 Case No. 2020-02222 

[*1]The People of the State of New York, Respondent, 
vEvan Zachary, Defendant-Appellant.


Robert S. Dean, Center for Appellate Litigation, New York (V. Marika Meis of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Noah Chamoy of counsel), for respondent.



An appeal having been taken to this Court by the above-named appellant from a judgment of the Supreme Court, Bronx County (Guy Mitchell, J.), rendered March 05, 2020,
Said appeal having been argued by counsel for the respective parties, due deliberation having been had thereon, and finding the sentence not excessive,
It is unanimously ordered that the judgment so appealed from be and the same is hereby affirmed.
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: January 24, 2023
Counsel for appellant is referred to
§ 606.5, Rules of the Appellate Division,
First Department.








